                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                           CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                                   No. CR 07-34
 vs.                                               ORDER REGARDING
                                              MAGISTRATE’S REPORT AND
 MICHAEL JONES,                                    RECOMMENDATION
                                               CONCERNING DEFENDANT’S
                Defendant.                            GUILTY PLEA
                                 ____________________


                       I. INTRODUCTION AND BACKGROUND
        On May 8, 2007, a one-count Indictment was returned against the defendant
Michael Jones. On July 9, 2007, the defendant appeared before United States Magistrate
Judge Jon S. Scoles and entered a plea of guilty to Count 1 of the Indictment. On July 10,
2007, Judge Scoles filed a Report and Recommendation in which he recommended that
defendant’s guilty plea be accepted. On July 10, 2007, Defendant filed a Waiver of
Objections to Report and Recommendation. The court, therefore, undertakes the necessary
review of Judge Scoles' recommendation to accept defendant’s plea in this case.


                                      II. ANALYSIS
        Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
               A judge of the court shall make a de novo determination of
               those portions of the report or specified proposed findings or
               recommendations to which objection is made. A judge of the
               court may accept, reject, or modify, in whole or in part, the
               findings or recommendations made by the magistrate [judge].


       Case 1:07-cr-00034-LRR-JSS       Document 41      Filed 07/11/07    Page 1 of 2
28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles' findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Scoles' Report and Recommendation of July 10, 2007,
and accepts defendant’s plea of guilty in this case to Count 1 of the Indictment.
       IT IS SO ORDERED.
       DATED this 10th day of July, 2007.




    Case 1:07-cr-00034-LRR-JSS         Document 41      Filed 07/11/07     Page 2 of 2
